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                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION

 FEDERAL TRADE COMMISSION, STATE                   Case No. 3:24-cv-00347-AN
 OF ARIZONA, STATE OF CALIFORNIA,
 DISTRICT OF COLUMBIA, STATE OF                    DECLARATION OF SONYA GAFSI
 ILLINOIS, STATE OF MARYLAND,                      OBLISK
 STATE OF NEVADA, STATE OF NEW
 MEXICO, STATE OF OREGON, and
 STATE OF WYOMING,

                Plaintiffs,

        v.

 THE KROGER COMPANY and
 ALBERTSONS COMPANIES, INC.,

                Defendants


       I, Sonya Gafsi Oblisk, pursuant to 28 U.S.C. § 1746, make the following declaration:

       1.      I am currently Chief Merchandising and Marketing Officer for Whole Foods

Market, Inc. (“Whole Foods”). I have served in that role since January 2023. I previously served

as Chief Marketing Officer of Whole Foods from January 2019 through January 2023, Executive

Vice President, Marketing & Communications from May 2018 through January 2019, and Global

Vice President, Marketing, from September 2016 through May 2018.

       2.      Whole Foods is headquartered in Austin, Texas. Whole Foods is a wholly owned

subsidiary of Amazon.com, Inc.

       3.      I live and work in Austin, Texas.

       4.      On June 11, 2024, I was deposed in this matter for approximately four-and-a-half

hours. I sat for a deposition in an office in Austin, TX, but the deposition was conducted remotely.




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Counsel for Defendants and Plaintiffs questioned me during the deposition, and my understanding

is that all parties who wanted to question me had the opportunity to do so.

       5.       I was recently subpoenaed to provide testimony at the preliminary injunction

hearing in this case. I believe that I was extensively questioned by both sides in this case during

my deposition, and gave as much information as I was able to give on the relevant topics that I

was asked about. I believe my deposition testimony clearly states my knowledge and views on the

issues that the parties may question me about during the preliminary injunction hearing, and any

live testimony that I would give would be duplicative of my prior testimony. Even so, I do not

object to testifying again if I am able to appear remotely, in order to lessen the travel burden and

to avoid conflicts with my significant work obligations.

       6.       Testifying in person in Portland, Oregon would impose undue burden on me, for a

number of reasons, including the following:

        7.      Portland, Oregon is over 1,700 miles away by plane from Austin, Texas. There are

few direct flights from Austin to Portland (two identical flights based on an initial search for flights

on September 4 and 6), with those flights involving approximately four hours of flight time each

way. This does not include the time that it would take me to travel to and from the airport or the

time it takes to check in, go through security, and wait for the plane to depart. I estimate that

testifying in person would require me to travel for at least two days and, considering the day that

I would testify, require me to be away from work and my home three days—barring any travel

delays or delays in when I would have to testify if the hearing runs behind schedule.

        8.      I currently lead all merchandising and marketing efforts for all 500+ stores in North

America and the United Kingdom, as well as e-commerce and oversee digital product

management. Stepping away from my duties for multiple days to provide non-party testimony



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would significantly impact my ability to handle my responsibilities, as well as the responsibilities

of those who report to me. Remote testimony would allow me to still perform my work duties and

be available to my employees and business leaders, particularly during time periods where I am

waiting to testify or otherwise not actively needed in the hearing.

       9.      Early September, which is when I have been subpoenaed to testify, is a particularly

difficult time for me for a number of reasons, including:

               a.      The period after Labor Day is a particularly busy and important time for

                       Whole Foods’ business because we are engaged in critical planning for the

                       holiday-shopping season.

               b.      I travel on September 3 for non-movable meetings with senior company

                       leadership and other employees of Whole Foods on September 4 and

                       September 5. These meetings involve our annual operational review and

                       personnel-review meetings, which are vitally important to Whole Foods and

                       our parent company, Amazon.

               c.      Beginning September 11 through September 13, I will be traveling to New

                       Orleans and the surrounding area for pre-planned in-person store visits and

                       meetings. These meetings must be planned at least three weeks advance and

                       these particular meetings planned over two months ago. As a practical

                       matter, these site visits are not movable.

       10.     Additionally, while I have been subpoenaed to testify on September 5, 2024, my

understanding is that this date is just a placeholder date and that I may be asked to testify at

another time. In addition to the conflicts noted above on or after September 5, I cannot testify

before September 5 because I am currently away from Austin on leave through Labor Day.



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Additionally, I am only back in Austin for one day, on September 3, to organize my work and

prepare for my travel and meetings (noted above) on September 4 and 5.

       11.     I understand that if I were to appear remotely, I would need to be able to be available

quickly on a specific day and approximately time. I have no objection to being available in that

manner and am more able to do so if I do not need to endure two days of travel and a third day of

testifying (and waiting to testify near the courtroom). I also understand that I would need to have

reliable technology and internet access and a quiet space to testify. I have reliable technology and

internet access and a quiet space to testify available to me both at my office and at home.

       I declare under penalty of perjury that the foregoing is true and correct.


Executed On: August 26, 2024                  /s/ Sonya Gafsi Oblisk
                                              Sonya Gafsi Oblisk




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